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                                   IN THE UNITED STATES DISTRICT COURT
                                      NORTHERN DISTRICT OF TEXAS
                                           DALLAS DIVISION


STEPHANIE GARCIA

                  Plaintiff
V.                                                                  COMPLAINT
                                                                    CIVIL ACTION NO.:
DALLAS FORT WORTH
INTERNATIONAL AIRPORT
BOARD
                   Defendant


                               PLAINTIFF'S ORIGINAL COMPLAINT

                   COMES NOW, Stephanie Garcia, Plaintiff herein, and files Plaintiff’s Original Complaint

         against Dallas/Fort Worth International Airport Board in this action and for cause of action would

         respectfully show unto the Court the following:

                                         JURISDICTION AND VENUE


        1.    This action alleges violations of Title VII of the Civil Rights Act of 1964, 42 U.S.C. 2000-e,

                et seq.
        2. Venue is proper in the Northern District of Texas, Dallas Division, pursuant to 28 U.S.C. §

              1391 because the claims arose in the Northern District of Texas.

                                                    PARTIES

        3. Plaintiff, Stephanie Garcia has been subjected to unlawful employment practices committed

              in the State of Texas by employees, agents and/or representatives of the Defendant.

              Plaintiff, Stephanie Garcia is an in individual residing in Dallas County, Texas. At all times

              relevant hereto, Plaintiff was employed by Defendant, Dallas Fort Worth International

              Airport Board as a Corporate Aviation Concierge for Defendant.
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        Defendant Dallas Fort Worth International Airport Board is a governmental entity and

        employer within the meaning of Title VII of the Civil Rights Act of 1964, 42

        U.S.C. 2000-e and the and is doing business in the State of Texas. Defendant,

        Dallas/Fort Worth International Airport Board, is a governmental entity co-owned by

        the municipalities of Dallas and Fort Worth, Texas. Defendant may be served through

        its Chief Executive Officer, Sean Donohue, at 3200 East Airfield Drive, DFW Airport,

        Texas 75261- 9428. At all relevant times, Defendant was the employer of Plaintiff is

        thus liable to Plaintiff, as an employer, according to statutory and common law.




                            PROCEDURAL REQUIREMENT


4. Plaintiff has timely filed charges with the EEOC of discrimination, retaliation alleging

   violation of Title VII of the Civil Rights Acts of 1964, as amended, 42 U.S.C.A., 2000-e

   et seq. Plaintiff has complied with all administrative requirements for perfecting her

   Charge.

5. On January 6, 2021, the EEOC issued Plaintiff of Notice of Right to Sue and Plaintiff

   filed this Complaint within 90 days from receipt of such notice. The Notice of Right to

   Sue and EEOC Charge of Discrimination are attached hereto and incorporated herein by

   reference as Exhibit A and Exhibit B, respectively.
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                                      FACTUAL SUMMARY

6. Plaintiff’s employment was terminated on September 25, 2020, based on and in retaliation for

      filing the September 14, 2020 EEOC Charge of Discrimination against Defendant related to

      discrimination based on sex, national origin, disability and retaliation.




                                       CAUSES OF ACTION
              The Plaintiff herein reaffirms and reaffirms each and every assertion set forth in this

      Complaint and further claims that:

 7.       Plaintiff was subjected to retaliation discrimination, and her employment was terminated on

September 25, 2020, after she filed a Charge of Discrimination based on sex, national origin and

disability on August 14, 2020.

 8.       Within 300 days of the acts of which he complains, Plaintiff filed Charge of Discrimination with

the Equal Employment Opportunity Commission (EEOC). Any allegations in this action which

pertain to events prior to 300 days before the EEOC Charges pertain to the allegations of continuing

violation. This suit is timely filed in accordance therewith.

 9.       Defendant is the direct cause of Plaintiff’s injuries including, but not limited compensatory and

punitive damages, attorney's fees, pre-judgment and post- judgment interest and any other such other

and further relief, at law or in equity, asthe Court deems necessary and proper.
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                     COURT COSTS AND ATTORNEY’S FEES



10. Plaintiff herein reaffirms and alleges each and every assertion set forth in the complaint

    and further claims that as result of Defendant's wrongful conduct, Plaintiff was compelled

    to retain Brenda J.Williams, Attorney to represent her herein the matter. Pursuant to 42

    U.S.C Section I 988, and the considerations related to punitive damages, Plaintiff seeks

    reasonable and necessary attorney’s fees and court costs.

                                     JURY DEMAND


 11.      Plaintiff demands a trial by jury in each and every issue of fact raised by the Petition.


                                        PRAYER


 12.        WHEREFORE, Plaintiff prays for judgment against Defendant for compensatory,

    punitive and general damages, back pay, front pay, reinstatement and declaratory and

    injunctive relief, attorneys' fees, costs and interest and such other and further general

    relief in law or equity to which Plaintiff may be reasonably entitled.


                                                     Respectfully submitted,


                                                     /s/ Brenda J. Williams
                                                     SBN 21515300
                                                     Bank of America, Oak Cliff Tower
                                                     400 South Zang Blvd., Suite 1200
                                                     Dallas, Texas 75208
                                                     (214) 946-0865(tel)
                                                     (214) 948-3038(fax)
                                                     bwilliams@bjwilliamslaw.com
                                                     ATTORNEY FOR PLAINTIFF
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                                                                                                                               EXHIBIT A
                                                                                                                 Page 5 of 6 PageID 5
fEOC FCfM !S t C11/20'20)                 U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

                                                    DISMISSAL AND NOTICE OF RIGHTS
To·    Stephanie Garcia                                                                   From.    Dallas District Office
       2537 W.Kiest                                                                                207 S. Houston St.
       Dallas, TX 75233                                                                            3rd Floor
                                                                                                   Dallas, TX 75202



      D                      On behalf of person(s) aggneve<! whose idcnt,ry 1s
                             CONFIDENTIAi (29 CFR §1601 7(ap
E EOC Chorge No.                                   eeoc Representa11ve                                                      Telephone No
                                                   Juan F. Munoz,
450-2021 P00110                                    Intake Supervisor                                                         (972) 918-3607
THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
      D           TI1e facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC


      D           Your allegations did not involve a disability as defined by the Americans With Disabilities Act.


      D           The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.


      D           Your charge was not timely filed with EEOC: in other words. you waited too long after the date(s) or the alleged
                  d,scnmmatcon to file your charge
      IX]         The EEOC issues the following determination· The EEOC will not proceed further with its investigation, and ma.kes no
                  determination about whether further investigation would establish vrolabons of the statute. This does not mean the claims
                  have no men1. This determination does not certify that the respondent is in compliance with the statutes. The EEOC
                  makes no finding as to the rnents of any other issues that might be construed as having been raised b y this charge.
      D           The EEOC has adopted the findings of lhe state or local fair employment practices agency that rnvest,gated Ulis chorge.

      0            Other (bnelly state)


                                                            - NOTICE OF SUIT RJGHTS -
                                                      (See the m:kiitiOtl~I mformalJOn attached to this form )

Title VII, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this Cl'large will be
lost. (The time limit for filing suit based on a claim under state law may be different)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. T his means that backpay due for any violations that occurred more than 2 years (3 years)
before you file suit may not be collectible.



                                             for                                                                            1/6/2021
 tnclosures(s}                                                                                                                    (Dete /:;sued)
                                                                     elinda F. Mc Callister,
                                                                       District Director
             David Comeaux
             Assistant Vice President Workforce Diversity and
             Inclusion
             OFW AIRPORT BOARD
             2400 Aviation Or.
             Dfw Airport, TX 75261
EEOC Fonn 5 (11/09)
                      Case 3:21-cv-00716-E Document 1 Filed 03/28/21                                     Page 6 of 6EXHIBIT
                                                                                                                     PageID 6 B
                                                                                                                              Agency(ies) Charge
                      CHARGE OF DISCRIMINATION . -                                         Charge Presented To:
                                                                                                                              No(s):
       This form is affected by the Privacy Act of 1974. See enclosed Privacy Act
              Statement and other information before completing this form.                     □     FEPA
                                                                            450-2021-00110     [[) EEOC
                             TEXAS WORKFORCE COMMISSION CIVIL RIGHTS DIVISION       and EEOC
                                                               State or local Agency, ,fany
Name (indicate Mr., Ms., Mrs.)                                                                               Home Phone                  Year of Birth
MS. STEPHANIE GARCIA                                                                                     (214) 301-2303
Street Address                                                         City, State and ZIP Code
2537 W.KIEST, DALLAS,TX 75233

Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency
That l Believe Discriminated Against Me or Others. (If more than two, list under PARTICULARS below.)
Name                                                                                   No. Employees. Members  Phone No.
CORPORATE AVIATION DFW                                                                                      501+                (972) 973-3700
Street Address                                                         City, State and ZIP Code
2400 AVIATION DR, 1816 N. 24TH AVE, DFW AIRPORT, TX 75261

Name                                                                                                 No. Employees. Members            Phone No.


Street Address                                                         City, State and ZIP Code




DISCRIMINATION BASED ON (Check appropriate box(es).)                                                         DATE(S) DISCRIMINATION TOOK PLACE
                                                                                                                   Earliest             Latest
 □       RACE         □    COLOR         □     SEX      □      RELIGION     □       NATIONAL ORIGIN           08-14-2020              09-22-2020
       [KJ   RETALIATION         □       AGE   □     DISABILITY        □      GENETIC INFORMATION
              □        OTHER (Specify)                                                                              □         CONTINUING ACTION
THE PARTICULARS ARE (If additional paper is needed, attach extra sheet{s)):
 PERSONAL HARM: I filed an EEOC charge of discrimination on August 14, 2020, and was
 terminated on September 22, 2020, with a termination date of September 25, 2020.

 RESPONDENTS REASON FOR ADVERSE ACTION: I did not meet probation standards.

 DISCRIMINATION STATEMENT: I was retaliated against for filing an EEOC claim.




I want this charge filed with both the EEOC and the State or local Agency,          NOTARY - When necessary for State and Local Agency Requirements
if any. I will advise the agencies if I change my address or phone number
and I will cooperate fully with them in the processing of my charge in
accordance with their procedures.
                                                                                    I swear or affirm that I have read the above charge and that it
I declare under penalty of perjury that the above is true and correct.              is true to the best of my knowledge, information and belief.
                                                                                    SIGNATURE OF COMPLAINANT


  Digitally signed by Stephanie Garcia on 10-19-2020                                SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
                     12:38 PM EDT                                                   (month, day, year)
